Case 1:20-cv-00753-GPG Document1 Filed 03/18/20 USDC Colorado Page 1 of 14

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US. DISTRICT COURT

 

 

IN THE UNITED STATES DISTRICT CouRT 7° TRIET OF CoLoR ado
FOR THE DISTRICT OF COLORADO 2020 HAR 18 PM 3:37

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0 -cv-00753 cLern ott

Civil Action No. BY
(To be supplied by the court) ———~-—— DEPCLK

Janelle N. Canody , Plaintiff
Vv.

U.S Department of Agriculture ,

, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names of the defendants listed in the above
caption must be identical to those contained in Section B. Do not include addresses here.)

 

COMPLAINT

 

 

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 
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A. PLAINTIFF INFORMATION

You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your casé.

Janelle N. Canody P.O. Box 271782 Fort Collins CO 80527

 

(Name and complete mailing address)
719-301-8893 jncanody@yahoo.com

 

(Telephone number and e-mail address)

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”

Defendant 1: U.S. Department of Agriculture Office of General Counsel
Room 3311-S
1400 Independence Ave., S.W.
Washington, DC 20250
(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

P Defendant 2: Please see attached page with list of additional addresses for Service of
rocess

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

Defendant 3:

 

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)

Defendant 4:

 

(Name and complete mailing address)

 

(Telephone number and e-mail address if known)
Case 1:20-cv-00753-GPG Document1 Filed 03/18/20 USDC Colorado Page 3 of 14

Civil-Process Clerk
Office of the United States Attorney for the District of Colorado, Jason Dunn
1801 California Street, Suite 1600

Denver, CO 80202

The Attorney General of the United States
950 Pennsylvania Avenue NW

Washington, DC 20530-0001

U.S. Department of Agriculture
1400 Independence Ave., S.W.

Washington, DC 20250
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C. JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check one)

X_ Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,
laws, or treaties of the United States)

List the specific federal statute, treaty, and/or provision(s) of the United States
Constitution that are at issue in this case.

Federal Tort Claims Act Ch. 646, Title IV, 60 Stat. 812, 28 U.S.C. Part VI Chapter
171 and 28 U.S.C 1346
Diversity of citizenship pursuant to 28 U.S.C. § 1332 (a matter between individual or
corporate citizens of different states and the amount in controversy exceeds $75,000)

Plaintiff is a citizen of the State of

 

If Defendant 1 is an individual, Defendant | is a citizen of

 

If Defendant 1 is a corporation,

Defendant | is incorporated under the laws of (name of
state or foreign nation).

Defendant 1 has its principal place of business in (name of
state or foreign nation).

(f more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)
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D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS.”

CLAIM ONE: Federal Tort Claim Act
’ Supporting facts:

I, Janelle Canody, Pro Se counsel, here by respectfully request to seek for damages for personal
injury against the United States Department of Agriculture due to actions of negligence that lead
to the plaintiff injury of mental health condition of PTSD and Severe Depression.

Plaintiff is filling lawsuit under the Federal Tort Claims Act (August 2, 1946, ch.646, Title IV, 60
Stat. 812, 28 U.S.C. Part VI, Chapter 171 and 28 U.S.C. § 1346) ("FTCA").

FTCA is a 1946 federal statute that permits private parties to sue the United States in a federal
court for most torts committed by persons acting on behalf of the United States.

An administrative claim must be filed with the federal agency that is to blame for the negligence
or misconduct.

Under the FTCA, "[t]he United States [is] liable ... in the same manner and to the same extent as a
private individual under like circumstances, but [is not] liable for interest prior to judgment or for
punitive damages." 28 U.S.C. § 2674.

Regarding the timing of filing, FTCA's § 2401(b) states that the action must be presented in
writing to appropriate Federal Agency "within two years after the claim accrues,” and file suit
"within six months after ... notice of final denial of the claim by the agency”.

On September 13th, 2017 plaintiff was diagnosed by a therapist with Anxiety with Panic Disorder
and Severe Depression caused by an event that was due to the negligence of the USDA Forest
Ranger employees.

Psychological injuries differ from physical injuries because they cannot be seen by the human
eye, therefore it takes more time for them to be identified.

Plaintiff was not aware of the extent of her injuries until late September of 2017 when she was
diagnosed by a therapist.

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D: Statement of Claims: Continuation of Claim One:

Therefore, plaintiff was not “put on notice of the wrong” until she was properly diagnosed by a
psychotherapist the extent of her psychological injuries.

Supporting law is as follows: “The tort action does not "accrue," for statute of limitations
purposes, until the plaintiff is put on notice of the wrong”. Urie v. Thompson, 337 U.S. 163, 69
S.Ct. 1018, 93 L.Ed. 1282 (1949), Waits v. United States, 611 F2d 550 (Sth Cir. 1980).

In light of diagnosis plaintiff date of injury is September 13th 2017 which in turn is the beginning
of 2 year accrual time frame to file a claim, plaintiff then has two years to contact the USDA and
file an administrative claim for her injuries.

Plaintiff began her process of request for administrative claim inquiry on June 10th, 2018, which
was a little less than one year after date of injury. This request was sent to the US Department of
Agriculture in Albuquerque.

The USDA sent plaintiff a letter dated September 27th, 2018 including Claim form for Damages,
Injury, or Death Form (SF-95). This letter also informed plaintiff that claim was to be forwarded
to the USDA Office of the General Counsel (OGC). This was in accordance with Title 28, Code
of Federal Regulations, Part 14 (28 CFR Part 14).

Form (SF-95) was filled out and returned to USDA by the plaintiff. December 4th, 2018 a letter
requesting additional information was sent to plaintiff for the claim and plaintiff was giving a
claim number of 2018020027-001. Plaintiff complied with response and provided additional
information requested.

March 13, 2019 Plaintiff received letter advising plaintiff that her claim was being forwarded to
the USDA Office of General Counsel in WA for Determination.

September 24th 2019 is the date of mailing of letter plaintiff received from U.S Department of
Agriculture Office of General Counsel stating that plaintiff claim was being denied and that
plaintiff may file suit against the United States in an appropriate U.S. District Court not later than
six months from the date of the letter.

Plaintiff is now filing suit against United States in appropriate court within the six-month time
frame given.

Plaintiff is filling suit under Federal Tort Claims Act claiming negligence due to breach of duty of
USDA Forest Rangers employee’s failure to enforce prohibition laws against target shooting with
in the Pike National Forest at the Rainbow Falls Campground. This negligence lead to the death
of plaintiff's father, which in turn led to plaintiff psychological injury.

USDA employees are duty bound and authorized on lands which are within or part of any unit of
the national forest system to enforce the laws or ordinances of a State and Federal or subdivision

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D: Statement of Claims: Continuation of Claim One:
thereof. Supporting U.S. Code as follows:

16 U.S. Code § 551.Protection of national forests; rules and regulations, 16 U.S. Code § 559c.
Powers of officers and employees of Forest Service, and 16 U.S. Code § 551a. Cooperation by
Secretary of Agriculture with States and political subdivisions in law enforcement.

It is expressly prohibited that the discharging a firearm or any other implement capable of taking
human life, causing injury, or damaging property within 150 yards of a residence, building,
campsite, developed recreation site or occupied area is prohibited. Per Title 36. Forest Service
Department of Agriculture 36 CFR § 261.10 - Occupancy and use.

Two USDA Forest Ranger employees were notified by Chris Cordova that he could hear active
target shooting occurring in close proximity to his camping area.

Less than an hour later Chris Cordova’s father in law, plaintiff's father, Glenn Martin was shot by
an errant bullet at said camping area and died at the Rainbow Falls campground located in Pike
National Forest.

The person responsible for shooting the bullet that struck Glen Martin has still not been found,
and the homicide case is still unsolved.

The USDA did not shoot the gun that killed Glenn Martin, but they did allow the circumstances
for the bullet that killed him.

These circumstances were permitted by inadequate enforcement and negligence to a danger that
was Clearly made aware to them.

USDA Forest Ranger employees were notified less than an hour before the death that firearms
were being discharged.

The shooting was not stopped, and the gun laws were not enforced with reasonable efforts. The
public was not kept safe.

This negligence led the death of Glenn Martin. Which then in turn led to the psychological injury
of the plaintiff.
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CLAIM TWO: Colorado Premises Liability Act CRS 13-21-115
Supporting facts:

Plaintiff is filing suit under Colorado Premises Liability Act. Plaintiff is filling suit under
Colorado Revised Statutes Title 13. Courts and Court Procedure § 13-21-115. Actions against
landowners.

For the purposes of this section, “landowner” includes, without limitation, an authorized agent or
a person in possession of real property and a person legally responsible for the condition of real
property or for the activities conducted or circumstances existing on real property.

“Invitee” means a person who enters or remains on the land of another to transact business in
which the parties are mutually interested or who enters or remains on such land in response to the
landowner's express or implied representation that the public is requested, expected, or intended
to enter or remain.

The USDA is the “Landowner” of the Pike Nations Forest where plaintiff's father was killed.

Per CRS 13-21-115 an invitee may recover for damages caused by the landowner’s unreasonable
failure to exercise reasonable care to protect against dangers of which he actually knew or should
have known.

USDA Forest Ranger employees were notified by Chris Cordova that there was active target
shooting occurring near his camping area.

Less than an hour later Chris Cordova’s father in law, plaintiff's father, Glenn Martin was shot by
an errant bullet and died at the Rainbow Falls campground located in the Pike National Forest.

Therefore, the landowner, USDA, failed to exercise the reasonable care and authority to protect
against the dangers of which he knew of and enforce the shooting regulations within the Pike
National Forest.

The shooting was not stopped, and the gun laws were not enforced with reasonable efforts. The
“invitee” was not protected against dangers known to landowner.

This failure led the death of GlemMartin. Which then in turn led to the psychological injury of the
plaintiff.

Additional Supporting Facts and Argument:
Plaintiff's father Glenn Martin was killed at Rainbow Falls Campground located in the Pike
National Forest by an errant bullet on July 3rd, 2015.

One hour before this homicide plaintiff's sister Carlie Cordova and brother in law Chris Cordova
notified two US Forest Service Ranger employees that they heard gunfire in the area close to their

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D: Statement of Claims: Continuation of Claim Two:
camp site which was illegal on those grounds.
The Park Rangers failed to stop the gunfire and less than an hour later plaintiffs’ father was killed.

This lack of enforcement of gun laws in the Pike National Park in a campground ground in a
highly populated area on a busy 4th of July weekend is grossly negligent.

Due to this negligence an entire family full of innocent people have been destroyed by the tragic
death of their father.

This death could have been avoided with due diligence of USDA Forest Rangers with adequate
monitoring of the campground, stopping the target shooting and enforcing the gun prohibition
laws in the Pike National Forest.

Because of the tragic death of her father the plaintiff has succumb to a severe mental health
condition of PTSD and Severe Depression.

This diagnosis of PTSD and Severe Depression due to this event is not a commonsense outcome
due to the circumstances.

Plaintiff was not personally present at the crime scene and did not personally witness the anguish
and tragic death of her father.

The plaintiff could easily assume that she would grieve and be depressed over the death of her
father for an appropriate amount of time.

However, she could not assume that she would generate a crippling psychological problem of
PTSD and Severe Depression that would affect her for the rest of her life because of this event.

On September 13th, 2017 after many sessions with a therapist plaintiff was diagnosed with PTSD
and Severe Depression resulting from this event.

She was not aware of the extent of her injuries until late September of 2017 when she was
diagnosed by a therapist.

The extent of her injuries was not known to her until this time therefore per Urie v. Thompson,
337 U.S. 163, 69 S.Ct. 1018, 93 L.Ed. 1282 (1949), Waits v. United States, 611 F2d 550 (Sth Cir.
1980) “The tort action does not "accrue," for statute of limitations purposes, until the plaintiff is
put on notice of the wrong”.

Therefore, considering the case above her two-year time limit would not start until she was “put
on notice of wrong” which was when she was diagnosed September 13, 2017.
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D: Statement of Claims: Continuation of Claim Two:

Unfortunately, this loss of life of plaintiff's father has caused personal injury by resulting in
PTSD and Severe Depression. Plaintiff is suing for one million dollars.

Supporting Police Report:

According to Homicide Case # 2015-00063505 written by Douglas County Sheriff Officer Robert
Griggs:

At 1838hrs. on 07/03/2015 while on a meal break at Decker’s substation I was dispatched to
Rainbow Falls Park.

This was in reference to a call they received with the caller saying he was on the main trail head
trying to get to Hwy 67 and his “brother was not breathing”. The call had then dropped.

As I started towards Rainbow Falls dispatch advised the caller was now on the phone with Teller
County and he was with an adult male that was unconscious and not breathing. CPR was in
Progress. The following occurred:

I arrived on scene at 1854hrs. and noticed a White over Tan Chevy Suburban and two ambulances
parked just inside the entrance to Rainbow Falls Park off of Hwy 67.

There was an adult female sobbing at the back of the Suburban and an adult male with her. I
asked what had happened and the adult male, later identified as Christopher Cordova 01/15/1991
said his he and his father in law were just sitting around the campfire when his father in law
suddenly yelled out and grabbed his left shoulder.

Christopher said his father in law, later identified as Glenn Martin 04/10/1955 then collapsed and
blood and foam immediately started coming from his mouth. Christopher yelled for his wife
Carlie Cordova 08/11/1980 who was inside the camper with their three kids.

When they realized how bad the situation was Christopher pulled their Suburban up and they
loaded Glenn in the back and headed towards the parking lot. After talking to Teller County
dispatch the started CPR until the ambulance got there. Christopher said they had found a small
puncture wound in Glenn’s left shoulder.

Glenn was now in the back of a Ute Pass Regional Ambulance being worked on by medical
personnel. They showed me the hole in Glenn’s left shoulder and told me he had passed and asked
for the coroner to respond.

Christopher told me there had been a camp nearby that the occupants had been shooting from and
he had asked Forest Service Rangers to make them stop shooting.

Forest Service LEO Thomas Healy had now arrived as well as two deputies from Teller County.
After talking to Lt. Barrella I had Tom Healy stay with the victim and family members while me
and the Teller County Deputies responded to locate the camp of the possible shooters and the

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D: Statement of Claims: Continuation of Claim Two:

victims camp to secure the crime scene. End.

Please see attachment Exhibit A included in support to Statement of Claims One and Two.

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iam United States Office of the Washington, SEP 2 * 2019
) Department of General DC.
Agriculture Counsel 20250-1400

CERTIFIED MAIL - RETURN RECEIPT REQUESTED (7015 1520 0000 7979 1301)

Janelle Canody

204 S 25" Street

Unit 6751

Colorado Springs, CO 80934

Dear Ms. Canody:
Subject: Federal Tort Claim of Janelle Canody

The October 17, 2018, SF-95 that you submitted to the Forest Service, pursuant to the Federal
Tort Claims Act (FTCA), has been reviewed carefully by this office.

The FTCA is a limited surrender of the sovereign immunity of the United States. United States
v. Orleans, 425 U.S. 807, 813 (1976). The United States, as sovereign, is immune from suit,
except to the extent it consents to be sued. The FTCA provides that the United States shall be
liable for death, personal injury, or property damage caused by the negligent or wrongful act or
omission of any employee of the agency acting within the scope of his or her office or
employment, under circumstances where a private person would be liable in accordance with the
law of the place where the act or omission occurred. 28 U.S.C. 1346(b), 2674.

We have determined that your claim is barred by 28 U.S.C. 2401(b), which requires a claim
against the United States be presented to the appropriate Federal agency within two years of the
date on which the claim accrues, which was July 3, 2015. Therefore, your claim is being closed
without further action from this office because your claim was not filed within two years of the
date of the accrual of the claim.

Assuming, for the sake of argument only, that you had properly submitted a timely filed FTCA
claim, this is the final denial of such a claim. If you are dissatisfied with this final action, you
may file suit against the United States in an appropriate U.S. District Court not later than six (6)
months from the date of mailing this letter, which is the date shown above.

Brian A.Mizoguchi
Acting Assistant General Counsel
General Law and Research Division

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E. REQUEST FOR RELIEF

State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief Please indicate that
additional paper is attached and label the additional pages regarding relief as “E. REQUEST
FOR RELIEF.”

I request economic and non-economic damages in the amount of One Million. I demand a jury.

F. PLAINTIFF’S SIGNATURE

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

S18. - 220

 

 

(Date)

(Form Revised December 2017)
~, Case 1:20-cv-00753-GPG Document 1 Filed 03/18/20 USDC Colorado Page 14 of 14

JS 44 (Rev. 06/17) District of Colorado

The JS 44 civil cover sheet and the information contained herein neither replace nor sup’
provided by local rules of court. This form, approved by the Judicial Conference of the

CIVIL COVER SHEET

plement the filing and service of pleadings or other papers as required by law, except as
nited States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the crvil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I, (a) PLAINTIFFS

CJomeriee 1) Cannody

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US PLAINTIFF CASES) ((\\)

CO'

 
 
 
 

(c) Attormeys (Firm Name, Address, and Telephone Number)

DEFENDANTS

County of Residence of First Listed Defendant
(INU S PLAINTIFF CASES ONLY)

Brian CUZOBU Cn

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

WS. DECAAMAM CE FQMCatnre_

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF 1
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Attomeys (if Known)

 

 

 

 

 

It. BASIS OF JURISDICTION (Place an “x” in One Box Only) IIL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” m One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
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of Business In This State
\ U.S. Government O04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place gos 05
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
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IV. NATURE OF SUIT (Place an “x” mm One Box Only) Click here for: Nature of Suit Code Descriptions.
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C 190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management OC 863 DIWC/DIWW (405(g)) Exchange
CO 195 Contract Product Liability 360 Other Personal Property Damage Relanons OG 864 SSID Title XVI 0 890 Other Statutory Actions
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G 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
245 Tort Product Liability Accommodations 0 530 General CO 950 Constitutionality of
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VIL CAUSE OF ACTION

 

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VII. REQUESTED IN © CHECKIFTHISISACLASS ACTION ‘

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes diversity): . . ‘ ~y\ 0
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CHECK YES only if demanded in complaint

 

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. ane WM ion JURY DEMAND: Yes (No
VIII. RELATED CASE(S) "
IF ANY (See mstructions) JUDGE DOCKET NUMBER
DATE Zz \ Q 20) wa Vi OF RECORD
FOR OFFICE USE ONLY ™ J
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
